






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00424-CV






Texas Department of Public Safety, Appellant


v.


Jenny Lee Kelso, Appellee






FROM THE COUNTY COURT AT LAW NO. 2 OF WILLIAMSON COUNTY

NO. 03-0088-CC2, HONORABLE TIMOTHY L. WRIGHT, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N
	



	Appellant Texas Department of Public Safety and appellee Jenny Lee Kelso have
filed a joint motion for entry of an agreed order.  By their motion, the parties inform this Court that
they have agreed to an order reversing the county court at law's judgment and affirming the
administrative decision.  They thus ask this Court to effectuate their agreement.  Accordingly, we
grant the parties' agreed motion, reverse the county court's judgment without regard to the merits,
and render judgment affirming the administrative decision.  See Tex. R. App. P. 42.1(a)(2)(A).



					                                                                                    

					David Puryear, Justice

Before Chief Justice Law, Justices B. A. Smith and Puryear

Reversed and Rendered on Joint Motion

Filed:   August 29, 2003


